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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division



MLR, LLC,


                       Plaintiff,
                                                     C.A. No. 2:08CV357 HCM/FBS
V.


MOTOROLA, INC.,


                       Defendant.




     AGREED ORDER APPROVING MUTUAL DISMISSALS WITH PREJUDICE
                       BETWEEN MLR, LLC AND MOTOROLA, INC.



       WHEREAS, the Court has been informed that Defendant Motorola, Inc., and Plaintiff

MLR, LLC have compromised and settled to their mutual satisfaction the matters in controversy


in the above-captioned action.


       WHEREAS, Motorola and MLR are the only parties who have appeared in the above-


captioned action.


       NOW, THEREFORE, it is hereby ORDERED as follows:


       1.      The claims by MLR against Motorola are hereby dismissed with prejudice.


       2.      The counterclaims by Motorola against MLR are hereby dismissed with prejudice


and the defenses asserted by Motorola to the claims of MLR are noted to be withdrawn.

       3.      Each party shall bear its own costs and attorneys fees attributable to the

prosecution and defense of the claims as between MLR and Motorola in this case.
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STIPULATED AND AGREED:




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SO ORDERED.                                      Henry Coke Morgan. Jr.

                                                      Eastern District of Virginia
DATE ENTERED                    iv i cci
